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                    HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       Table 24: Shares Among Advertiser Buying Tools, Ad Exchanges, and Publisher Ad
                         Servers for All U.S. Display Advertising, 2022
   Advertiser Buying Tools                    Ad Exchanges                     Publisher Ad Servers
                      Spending                                Spending                            Spending
                     ($ million)     %                       ($ million)   %                     ($ million)   %
                 Redacted




   Sources: See Section X.A in the appendix




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